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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
 DONALD J. TRUMP, in his capacity as          )
  former President of the United States,      )
                                              )
                         Plaintiff,           )
                                              )
                     v.                       )
                                              )      No. 1:21-cv-2679 (TSC)
 BENNIE G. THOMPSON, in his official          )
  capacity as Chairman of the Select          )
  Committee to Investigate the January 6th    )
  Attack on the United States Capitol, United )
  States House of Representatives, et al.,    )
                                              )
                         Defendants.          )
                                              )

                          DECLARATION OF B. JOHN LASTER


   I, B. John Laster, under 28 U.S.C. § 1746, hereby declare and state as follows:


1. I currently serve as the Director of the White House Liaison Division of the Office of

   Legislative Archives, Presidential Libraries, and Museum Services in the National Archives

   and Records Administration (NARA). I have held this position since February 2020. Prior

   to this, I was the Director of the Presidential Materials Division of NARA for seven years.

   During my 25-year career with NARA, I have worked exclusively with Presidential and Vice

   Presidential records. I hold a master’s degree in history from Auburn University and a

   bachelor’s degree in communications from Georgia Southern University.


2. I am responsible for administering all access requests for Presidential records that have been

   transferred into NARA’s custody in accordance with the Presidential Records Act (PRA), as

   amended, 44 U.S.C. §§ 2201-2209.
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3. The statements contained in this declaration are based upon my personal knowledge, upon

   information furnished to me in the course of my official duties, and upon conclusions and

   determinations reached and made in accordance therewith.


The Presidential Records Act

4. The PRA established U.S. Government ownership of all Presidential records, and requires

   that such records shall be transferred into NARA’s custody and control when the President

   leaves office. 44 U.S.C. § 2203(g). In general, access outside NARA to the Presidential

   records of a former President is restricted (that is to say, not permitted) for five years

   following their transfer to NARA, or until NARA completes their processing and

   organization, whichever is earlier. 44 U.S.C. § 2204(b)(2). In addition, the outgoing

   President may specify that access to records in one or more of six statutorily defined

   categories may be restricted for up to twelve years from the end of his administration. Id. §

   2204(a). Restrictions under 44 U.S.C. § 2204(a) and (b) work in concert with eight of the

   nine Freedom of Information Act (FOIA) exemptions to limit public access to the records.

   Id. § 2204(c). Former President Trump applied the 12-year restrictions to each of the six

   PRA-defined categories prior to leaving office.


5. Section 2205 of the PRA, entitled “Exceptions to Restricted Access,” provides that

   “[p]residential records shall be made available” under certain circumstances specified in

   section 2205, “[n]otwithstanding any restrictions on access” imposed under section 2204. As

   relevant here, section 2205 directs NARA to make Presidential records available “to either

   House of Congress, or, to the extent of matter within its jurisdiction, to any committee or

   subcommittee thereof if such records contain information that is needed for the conduct of its

   business and that is not otherwise available,” 44 U.S.C. § 2205(2)(C), “subject to any rights,

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   defenses, or privileges which the United States or any agency or person may invoke,” id.

   § 2205(2). NARA refers to section 2205 requests as “special access requests,” as distinct

   from “public access requests,” which remain subject to the restrictions imposed under section

   2204.


6. Upon receiving a special access request from a congressional committee or subcommittee

   under section 2205 and identifying records that NARA believes are responsive, NARA then

   notifies, in accordance with its regulations, at 36 C.F.R. § 1270.44, and Executive Order

   13489, the representatives of the former and incumbent Presidents (collectively, the PRA

   Representatives) of its intent to disclose the records to the requesting committee. NARA

   furnishes copies of the responsive records to the PRA Representatives of the incumbent and

   former Presidents, so that they can review the records and consider whether the incumbent or

   former President, respectively, should assert a constitutionally based privilege, such as

   executive privilege, against disclosure. NARA maintains the records in the same order and

   manner of organization as they were transmitted to NARA by the outgoing administration.

   To the extent practicable and necessary, NARA informs the PRA Representatives where the

   responsive records came from, such as from a staff member’s office files.


7. NARA follows a separate notification process when releasing Presidential records to the

   public in accordance with section 2204. That process is governed by section 2208 of the

   PRA, and the records are also subject to the restrictions in section 2204.


8. The notification to the PRA Representatives includes a time period for the review, which is

   typically 30 calendar days, although NARA’s regulations state that “[t]he Archivist [of the

   United States] may adjust any time period or deadline under this subpart, as appropriate, to


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   accommodate records requested under this section.” 36 C.F.R. § 1270.44(g). NARA first

   notifies the representatives of the former President, and then notifies the representative of the

   incumbent President approximately one week later, which means that the representatives of

   the former President can continue their review while the incumbent review is still ongoing.

   Depending on the volume and complexity of the records and the need and expectations of the

   requesting committee, the time period allowed for review by either or both PRA

   Representatives may be extended beyond the prescribed time period, as part of an informal

   accommodations process. In addition, under section 2(b) of Executive Order 13489, the

   incumbent President or his designee may instruct the Archivist “to extend the time period for

   a time certain[.]”


9. Depending on the complexity of the search and the volume of responsive records, NARA

   may provide notifications to the PRA Representatives on a rolling basis (as it is doing in this

   case). Similarly, as part of the accommodation process NARA may allow the PRA

   Representatives to conduct their review of records subject to a notification in subsets,

   allowing NARA to make rolling disclosures to the requesting committee, while the PRA

   Representatives continue to review the remaining records.


10. In the course of their review, the PRA Representatives also may seek clarification from

   NARA on whether specific records are responsive to a request. Upon receipt of such a

   request, NARA will examine the record(s), considering the issues raised by the PRA

   Representatives. If NARA agrees that a record is not responsive, the record is withdrawn

   from the notification process and is not provided to the committee.


11. On occasion PRA Representatives may also inquire regarding the identity of the authors or

   custodians of particular records when they are not apparent from either the faces of the
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   records or the surrounding files with which they were produced. (As noted above, to the

   extent practicable, NARA informs the PRA Representatives which files responsive records

   came from.) When it receives inquiries of this kind, NARA attempts to answer them as best

   it can with the information available to it.


12. Prior to this case, no former or incumbent President has asserted a constitutionally based

   privilege with respect to records requested under section 2205 of the PRA. In the past,

   concerns raised by PRA Representatives of the incumbent or former President about the

   sensitivity of responsive records, or the scope of a request, have always been addressed and

   resolved through the accommodation process. For example, committees have on occasion

   agreed to narrow the scope of their requests, and have also agreed to restrictions on the type

   of access provided – e.g., read-only access or committee-confidential restrictions. Such

   accommodations can be negotiated with the committee by NARA or by the PRA

   Representatives directly.


The January 6th Committee’s Request

13. On March 25, 2021, NARA received a special access request from the House Committee on

   Oversight and Reform and five other Committees seeking Trump Presidential records related

   to the events of January 6, 2021 (Maloney Request). Attachment A. On August 25, 2021,

   NARA received a request from the House Select Committee to Investigate the January 6th

   Attack on the United States Capitol (January 6th Committee) that subsumed the March 25,

   2021, Maloney Request, and made additional requests (Thompson Request). Attachment B.


14. In response to these requests, NARA conducted searches of the Trump Presidential records in

   its custody and control. Although the Trump Presidential records came into NARA’s legal

   custody on January 20, 2021, due to the complex technical work needed to transfer hundreds
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   of terabytes of electronic records, coupled with the limitations on advanced planning that are

   endemic to a one-term transition, it took until August 2021 for NARA to receive the vast

   majority of the electronic Trump Presidential records, with a few outstanding data sets still

   waiting to be transferred. While these electronic records were being prepared for transfer to

   NARA, the records remained on servers controlled by the Executive Office of the President

   (EOP). Accordingly, even though NARA has now received the vast majority of the

   electronic Trump Presidential records, NARA began its search for records responsive to the

   Thompson Request with the hard-copy records in our custody that we could initially identify

   as possibly containing responsive records.


15. During this interim period when the electronic Trump Presidential records remained on

   EOP’s servers, NARA requested that the EOP perform a search for email records responsive

   to this request, which identified several hundred thousand potentially responsive records (out

   of a corpus of approximately 100 million emails). NARA is now beginning to review that set

   of records to de-duplicate them and determine responsiveness.


Notifications of Responsive Documents Issued to Date

   The First Notification

16. On August 30, 2021, NARA provided the first notification to the PRA representatives of

   former President Trump of its intent to disclose approximately 136 pages of records

   responsive to the Thompson Request, and on September 8, 2021, NARA notified the PRA

   representative of President Biden of its intent to disclose the same records (together, the First

   Notification). NARA subsequently withdrew seven pages of records as non-responsive to

   the request.



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17. On October 8, 2021, former President Trump informed the Archivist, David S. Ferriero, that

   he was asserting a constitutionally based privilege over 39 pages of responsive records

   subject to the First Notification. President Trump’s letter also asserted privilege over the

   seven pages of non-responsive records that had been withdrawn from the notification.

   Attachment C.


18. On October 8, 2021, the Counsel to President Biden informed the Archivist that President

   Biden would not uphold former President Trump’s privilege claim and was not asserting a

   claim of privilege on any other records subject to the First Notification. Attachment D. Also

   on October 8, 2021, the Counsel to the President sent a second letter to the Archivist

   instructing him to provide the pages identified as privileged by former President Trump to

   the January 6th Committee 30 days after informing the former President, absent any

   intervening court order. Attachment E.


19. On October 13, 2021, the Archivist responded to former President Trump, informing him

   that, after consultation with the Counsel to the President and the Acting Assistant Attorney

   General for the Office of Legal Counsel, and as instructed by President Biden, NARA would

   disclose the records in the First Notification subject to former President Trump’s claim of

   privilege to the January 6th Committee in 30 calendar days (that is, on November 12, 2021)

   per 36 C.F.R. 1270.44(g), absent any intervening court order. Attachment F. The

   Archivist’s letter further noted that the seven pages NARA had deemed non-responsive

   would not be provided.


20. On October 13, 2021, NARA disclosed to the January 6th Committee the 90 pages of records

   in the First Notification that were not subject to any claim of privilege.



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   The Second and Third Notifications

21. On September 9, 2021, NARA provided the second notification to the PRA Representatives

   of former President Trump of its intent to disclose approximately 742 pages of records

   responsive to the Thompson Request, and on September 16, 2021, NARA notified the PRA

   Representatives of President Biden of its intent to disclose the same records (together, the

   Second Notification).


22. On September 16, 2021, NARA provided a third notification to the PRA Representatives of

   former President Trump of its intent to disclose approximately 146 pages of records

   responsive to the Thompson Request, and on September 23, 2021, NARA notified the PRA

   Representatives of President Biden of its intent to disclose the same records (together, the

   Third Notification).


23. On October 17, 2021, the Counsel to the President – as the incumbent President’s designee –

   instructed the Archivist to extend the incumbent’s review period for the Second Notification

   by one week to coincide with the end of the review period for the Third Notification, and the

   PRA Representatives of former President Trump were afforded the same extension of time to

   complete their review of records under the Second Notification.


24. On October 22, 2021, former President Trump informed the Archivist that he was asserting a

   constitutionally based privilege over 724 of the 885 pages of responsive records subject to

   the Second and Third Notifications. Attachment G. (NARA had previously withdrawn three

   pages from the Second Notification, because they were not Presidential records.)



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25. On October 25, 2021, the Counsel to President Biden informed the Archivist that President

   Biden would not uphold former President Trump’s privilege claim and was not asserting a

   claim of privilege on any records subject to the Second and Third Notifications and

   instructing him to provide the pages identified as privileged by former President Trump to

   the January 6th Committee 30 days after informing the former President, absent any

   intervening court order. Attachment H. The Counsel to President Biden further explained

   that, in the course of an accommodation process between Congress and the Executive

   Branch, the Select Committee had agreed to defer its request for 50 pages of responsive

   records.


26. On October 27, 2021, the Archivist responded to former President Trump, informing him

   that, after consultation with the Counsel to the President and the Acting Assistant Attorney

   General for the Office of Legal Counsel, and as instructed by President Biden, NARA would

   disclose the records in the Second and Third Notifications subject to former President

   Trump’s claim of privilege to the January 6th Committee in 30 calendar days (that is, on

   November 26, 2021), per 36 C.F.R. 1270.44(g), absent any intervening court order.

   Attachment I.


   Further Notifications

27. On October 15, 2021, NARA provided the fourth notification to the PRA Representatives of

   former President Trump of its intent to disclose 551 pages of records responsive to the

   Thompson Request, and on October 22, 2021, NARA notified the PRA Representatives of

   President Biden of its intent to disclose the same records (together, the Fourth Notification).




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28. NARA anticipates providing multiple additional notifications for electronic records,

   including email, digital photographs, and additional hard copy records, on a rolling basis as it

   is able to locate responsive records.


General Nature of the Responsive Records Identified To Date

29. I discuss below the general categories of records included in the First, Second, and Third

   Notifications over which former President Trump has made particularized assertions of

   executive privilege. The following is not intended as a detailed description of these records

   on a page-by-page or even document-by-document basis.


30. First Notification: The First Notification includes 136 pages of records transferred to NARA

   from (i) the files of Chief of Staff Mark Meadows, (ii) the files of Senior Advisor to the

   President Stephen Miller, (iii) the files of Deputy Counsel to the President Patrick Philbin,

   (iv) the White House Daily Diary, which is a chronological record of the President’s

   movements, phone calls, trips, briefings, meetings, and activities, (v) the White House Office

   of Records Management, and (vi) the files of Brian de Guzman, Director of White House

   Information Services.


31. President Trump made particularized assertions of executive privilege over 46 of these 136

   pages of records (including seven pages of records that, as noted above, had been removed as

   non-responsive). He asserted privilege over: (i) daily presidential diaries, schedules,

   appointment information showing visitors to the White House, activity logs, call logs, and

   switchboard shift-change checklists showing calls to the President and Vice President, all

   specifically for or encompassing January 6, 2021 (30 pages); (ii) drafts of speeches, remarks,

   and correspondence concerning the events of January 6, 2021 (13 pages); and (iii) three

   handwritten notes concerning the events of January 6 from Mr. Meadows’ files (3 pages).
                                                10
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32. Second Notification: The Second Notification includes 742 pages of records transferred to

   NARA from: (i) the files of Chief of Staff Mark Meadows; (ii) the White House Office of the

   Executive Clerk; (iii) files from the White House Oval Office Operations; (iv) the files of

   White House Press Secretary Kayleigh McEnany; and (v) Senior Advisor to the President

   Stephen Miller.


33. President Trump made particularized assertions of executive privilege over 656 of these 742

   pages of records. He asserted privilege over: (i) pages from multiple binders containing

   proposed talking points for the Press Secretary, interspersed with a relatively small number

   of related statements and documents, principally relating to allegations of voter fraud,

   election security, and other topics concerning the 2020 election (629 pages); (ii) presidential

   activity calendars and a related handwritten note for January 6, 2021, and for January 2021

   generally, including January 6 (11 pages); (iii) draft text of a presidential speech for the

   January 6, 2021, Save America March (10 pages); (iv) a handwritten note from former Chief

   of Staff Mark Meadows’ files listing potential or scheduled briefings and telephone calls

   concerning the January 6 certification and other election issues (2 pages); and (v) a draft

   Executive Order on the topic of election integrity (4 pages).


34. Third Notification: The Third Notification includes 146 pages of records transferred to

   NARA from (i) the White House Office of the Executive Clerk and (ii) the files of Deputy

   White House Counsel Patrick Philbin.


35. President Trump made particularized assertions of executive privilege over 68 of these 146

   pages of records. He asserted privilege over: (i) a draft proclamation honoring the Capitol

   Police and deceased officers Brian Sicknick and Howard Liebengood, and related emails



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from the files of the Office of the Executive Clerk (53 pages); and (ii) records from the files

of Deputy White House Counsel Patrick Philbin, including a memorandum apparently

originating outside the White House regarding a potential lawsuit by the United States

against several states President Biden won (4 pages), an email chain originating from a state

official regarding election-related issues (3 pages), talking points on alleged election

irregularities in one Michigan county (3 pages), a document containing presidential findings

concerning the security of the 2020 presidential election and ordering various actions (3

pages), and notes apparently indicating from whom some of the foregoing were sent (2

pages).



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.



Executed this 29th day of October, 2021



                                               BILLY LASTER             Digitally signed by BILLY LASTER
                                              _______________________________________
                                                                        Date: 2021.10.29 19:46:23 -04'00'

                                                B. JOHN LASTER




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                 ATTACHMENT A
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                                          August 25, 2021

The Honorable David S. Ferriero
Archivist of the United States
U.S. National Archives and Records Administration
700 Pennsylvania Avenue, NW
Washington, DC 20408

Dear Mr. Ferriero:

The Select Committee to Investigate the January 6th Attack on the United States Capitol is
examining the facts, circumstances, and causes of the January 6th attack. Our Constitution
provides for a peaceful transfer of power, and this investigation seeks to evaluate threats to that
process, identify lessons learned, and recommend laws, policies, procedures, rules, or regulations
necessary to protect our Republic in the future. Pursuant to the Presidential Records Act (44
U.S.C. § 2205(2)(C)), and House Resolution 503, the Select Committee requests that you
produce the documents described in the attached schedule from the Executive Office of the
President (EOP) and the Office of the Vice President (OVP) in your custody, control, or
possession.

Given the urgent nature of our request, we ask that you expedite your consultation and
processing times pursuant to your authority under 36 C.F.R. § 1270.44(g). We have some
concern about the delay in producing documents requested this past March, and we want to assist
your prompt production of materials. We look forward to discussing ways in which we can do
that. Toward that end, we request that NARA meet expeditiously with Select Committee
investigative staff to discuss production priorities.
This is our first request for materials, and we anticipate additional requests as our investigation
continues. Please produce this information to the Select Committee no later than September 9,
2021. An attachment to this letter provides additional instructions for responding to the Select
Committee’s request.
If you have questions, please contact Select Committee investigative staff at 202-225-7800.

                                              Sincerely,


                                              __________________________
                                              Bennie G. Thompson
                                              Chairman
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DOCUMENT SCHEDULE

Pending Requests

The Select Committee reiterates the requests made in the March 25, 2021,1 correspondence from
multiple committees of the House of Representatives, which the Select Committee subsequently
joined, for documents and communications received, prepared, or sent between December 1,
2020, and January 20, 2021, relating to the counting of the electoral college vote on January 6,
2021, the potential for demonstrations, violence, or attacks in the National Capital Region on or
around January 6, 2021, and the events or aftermath of January 6, 2021.

Those March 25, 2021, requests include but are not limited to:

    1. All documents and communications relating in any way to remarks made by Donald
       Trump or any other persons on January 6, including Donald Trump’s and other speakers’
       public remarks at the rally on the morning of January 6, and Donald Trump’s Twitter
       messages throughout the day.

    2. All calendars, schedules, and movement logs regarding meetings or events attended by
       President Trump, including the identity of any individuals in attendance, whether virtual
       or in-person, on January 6, 2021.

    3. All documents and communications regarding the movements and protection of Vice
       President Pence on January 6, 2021.

    4. All video communications recorded of the President speaking on January 6, 2021, and all
       documents and communications related thereto, including communications involving the
       President or any other officials or employees in the Executive Office of the President or
       the Office of the Vice President. This request specifically includes videos of
       communications released to the public and communications recorded but not released to
       the public, any documents or other communications identifying or discussing the content
       of those videos.

    5. All photographs, videos, or other media, including any digital time stamps for such
       media, taken or recorded within the White House on January 6, 2021, or taken of the
       crowd assembled for the rally on the morning of January 6, and all communications or
       other documents related to that media.




        1
           Letter from Chairwoman Carolyn B. Maloney, House Committee on Oversight and Reform, et al., to
David Ferriero, Archivist, National Archives (March 25, 2021) (online at
https://oversight house.gov/sites/democrats.oversight.house.gov/files/2021-03-
25.House%20Committees%20to%20Agencies%20re%20Jan%206%20Attack.pdf).
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   6. All photographs, videos, or other media, including any digital time stamps for such
      media, taken or recorded of Vice President Mike Pence or any individuals accompanying
      him, on January 6, 2021.

   7. All documents and communications within the White House on January 6, 2021, relating
      in any way to the following:

          •   the January 6, 2021, rally;
          •   the January 6, 2021, march to the Capitol;
          •   the January 6, 2021, violence at the Capitol;
          •   any aspect of the Joint Session where Congress was counting electoral votes;
          •   any legal, political, or other strategy regarding the counting of electoral votes;
          •   Donald J. Trump;
          •   Vice President Pence;
          •   the President’s tweets, speech, any other public communications on that date;
          •   the President’s recording of video for release on that date and any outtakes;
          •   reactions, summaries, or characterizations of any public speeches or other
              communications by Donald Trump or other public speakers on that date;
          •   efforts to persuade the President to deliver any particular message to people at or
              near the Capitol;
          •   Sarah Matthews;
          •   Hope Hicks;
          •   Mark Meadows;
          •   Dan Scavino;
          •   Pat Cipollone;
          •   Marc Short;
          •   Patrick Philbin;
          •   Eric Herschmann;
          •   Stephan Miller;
          •   Greg Jacob;
          •   Matthew Pottinger;
          •   Keith Kellogg;
          •   Robert O’Brien;
          •   Peter Navarro;
          •   Ben Williamson;
          •   Cassidy Hutchinson;
          •   Molly Michael;
          •   Nicholas “Nick” Luna;
          •   Judd Deere;
          •   Kayleigh McEnany;
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           •   Ivanka Trump;
           •   Eric Trump;
           •   Lara Trump;
           •   Donald Trump, Jr.;
           •   Jared Kushner;
           •   Melania Trump;
           •   Kimberly Guilfoyle;
           •   Steve Bannon;
           •   Michael Flynn;
           •   Rudolph “Rudy” Giuliani;
           •   Roger Stone;
           •   any Member of Congress or congressional staff; or
           •   the Department of Defense, the Department of Justice, the Department of
               Homeland Security, the Department of the Interior, or any element of the National
               Guard.

   8. All White House visitor records on January 6, 2021.

   9. All documents and communications regarding the movement of the President on January
      6, 2021.

   10. All call logs and telephone records identifying calls placed to or from any individuals
       identified in (7) above.

   11. All schedules for any individuals identified in (7) above on January 6, 2021, and all
       documents relating to such meetings, including memoranda, read-aheads, and summaries
       of such meetings.

   12. All documents and communications received, prepared, or sent by any official within the
       White House Situation Room and the White House Operations Center on January 6,
       2021, including but not limited to any communication logs, situation reports, and watch
       officer notes.

Additional Requests

In addition, to the extent not included in the scope of the March 25, 2021, request, and as a
supplement to the requests previously made on March 25, 2021, we hereby make the following
additional requests.

   (a) Planning by the White House and Others for Legal or Other Strategies to Delay, Halt,
       or Otherwise Impede the Electoral Count
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          1. From April 1, 2020, through January 20, 2021, all documents and
             communications related to efforts, plans, or proposals to contest the 2020
             Presidential election results.

          2. From April 1, 2020, through January 20, 2021, all documents and
             communications related to plans, efforts, or discussions regarding the electoral
             count (including plans, efforts, or discussions regarding delaying or impeding the
             electoral count).

          3. All documents and communications concerning the role of the Vice President as
             the Presiding Officer in the certification of the votes of the electoral college.

          4. From November 3, 2020, through January 20, 2021, all documents and
             communications referring or relating to the 2020 election results between White
             House officials and officials of State Governments. This includes, but is not
             limited to, communications with the following individuals and their staff and
             subordinates:

                   • Doug Ducey,
                   • Brian Kemp,
                   • Brad Raffensperger,
                   • Ken Paxton,
                   • Frances Watson,
                   • Mike Shirkey,
                   • Lee Chatfield, or
                   • Monica Palmer.

          5. From April 1, 2020, through January 20, 2021, all documents and
             communications related to the 2020 election results, to or from one or more of the
             following individuals: Rudolph “Rudy” Giuliani, Justin Clark, Matt Morgan,
             Sidney Powell, Kurt Olsen, or Cleta Mitchell.

          6. From April 1, 2020, through January 20, 2021, all documents and
             communications related to the 2020 Presidential election, including forecasting,
             polling, or results, and which are authored, presented by, or related in any way to
             the following individuals: Anthony “Tony” Fabrizio, Brad Parscale, Bill Stepien,
             Corey Lewandowski, or Jason Miller.

          7. All documents and communications to or from David Bossie relating to
             questioning the validity of the 2020 election results.

          8. All documents and communications referring or relating to court decisions,
             deliberations, or processes involving challenges to the 2020 Presidential election.
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          9. From November 3, 2020, through January 20, 2021, all documents and
             communications relating to the State of Texas and litigation concerning the 2020
             Presidential election.

          10. From November 3, 2020, through December 31, 2020, all documents and
              communications relating to an amicus brief concerning litigation involving the
              State of Texas.

          11. All documents and communications relating to decisions of the United States
              Supreme Court issued on December 8, 2020, and December 11, 2020.

          12. From November 3, 2020, through January 20, 2021, all documents and
              communications relating to Justin Riemer and the electoral count or litigation
              concerning the 2020 Presidential election.

          13. All documents and communications referring or relating to QAnon, the Proud
              Boys, Stop the Steal, Oath Keepers, or Three Percenters concerning the 2020
              election results, or the counting of the electoral college vote on January 6, 2021.

          14. Any documents and communications relating to election machinery or software
              used in the 2020 election, including but not limited to communications relating to
              Dominion Voting Systems Corporation.

          15. From November 3, 2020, through January 19, 2021, all documents and
              communications concerning the resignation of any White House personnel or any
              politically appointed personnel of any Federal department or agency (including
              the resignation of any member of the President’s Cabinet) and mentioning the
              2020 Presidential election or the events of January 6, 2021.

          16. All documents and communications concerning prepared remarks for a speech by
              Donald Trump on November 3, 2020, or November 4, 2020.

          17. All documents and communications to or from John Eastman from November 3,
              2020, through January 20, 2021.

          18. All documents and communications relating to allegations of election fraud or to
              challenging, overturning, or questioning the validity of the 2020 Presidential
              election, and involving personnel of the Department of Justice, including any one
              or more of the following individuals: Jeffrey Rosen, Richard Donoghue, Steven
              Engel, Jeffrey Wall, Patrick Hovakimian, Byung J. “BJay” Pak, Bobby Christine,
              or Jeffrey Clark.
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          19. All documents and communications relating to allegations of election fraud or to
              challenging, overturning, or questioning the validity of the 2020 Presidential
              election and Chris Christie.

          20. All documents and communications relating to the results of the 2020 Presidential
              election and Peter Navarro.

          21. All documents and communications relating to challenging, overturning, or
              questioning the validity of the 2020 Presidential election and William Barr.

   (b) Recruitment, Planning, Coordination, and Other Preparations for the Rallies Leading
       up to and Including January 6th and the Violence on January 6th

          1. All documents and communications relating to planned protests, marches, public
             assemblies, rallies, or speeches in Washington, DC, on November 14, 2020,
             December 12, 2020, January 5, 2021, and January 6, 2021.

          2. All documents and communications related to security of the Capitol or other
             Federal facilities on January 5, 2021, and January 6, 2021.

          3. All documents and communications concerning Donald Trump’s statement on
             September 29, 2020, for the Proud Boys to “stand back and stand by.”

          4. From December 1, 2020, through January 20, 2021, any documents and
             communications involving White House personnel and any Member of Congress,
             referring or relating to (a) civil unrest, violence, or attacks at the Capitol; (b)
             challenging, overturning, or questioning the validity of the 2020 election results;
             (c) the counting of the electoral college vote on January 6, 2021; or (d) appealing
             the decisions of courts related to the 2020 Presidential election.

          5. All documents and communications related to social media information
             monitored, gathered, reviewed, shared, or analyzed by White House personnel on
             January 6, 2021.

          6. All documents and communications related to any plan for the President to march
             or walk to the Capitol on January 6, 2021. This request includes any such
             documents or communications related to a decision not to march or walk to the
             Capitol on January 6, 2021.

          7. From April 1, 2020, through January 20, 2021, all documents and
             communications concerning the 2020 election and relating to the following
             individuals:

                 ▪   Cindy Chafian,
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                 ▪   Greg Locke,
                 ▪   Robert Patrick Lewis,
                 ▪   Chris Lippe,
                 ▪   Tracy Diaz,
                 ▪   Alex Phillips,
                 ▪   Bianca Gracia,
                 ▪   Ali Alexander,
                 ▪   Brandon Straka,
                 ▪   Rose Tennet,
                 ▪   Ed Martin,
                 ▪   Vernon Jones,
                 ▪   Cordie Williams,
                 ▪   Michael Flynn,
                 ▪   Alex Jones,
                 ▪   Owen Schroyer,
                 ▪   Karyn Turk,
                 ▪   Scott Presler,
                 ▪   Rogan O’Handley,
                 ▪   Christie Hutcherson,
                 ▪   Gina Loudon,
                 ▪   Jack Posobiec,
                 ▪   Bryson Grey,
                 ▪   Angela Stanton King,
                 ▪   Brian Gibson,
                 ▪   George Papadopoulos,
                 ▪   Julio Gonzalez,
                 ▪   Bernard Kerik,
                 ▪   Mark Burns,
                 ▪   Roger Stone,
                 ▪   George Flynn,
                 ▪   Tom Van Flein,
                 ▪   Doug Logan,
                 ▪   Katrina Pierson,
                 ▪   Amy Kremer,
                 ▪   Dustin Stockton,
                 ▪   Enrique Tarrio,
                 ▪   Kenneth Harrelson,
                 ▪   Caroline Wren, or
                 ▪   Michael Coudrey.

   (c) Information Donald Trump Received Following the Election Regarding the Election
       Outcome, and What He Told the American People About the Election
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          1. From November 3, 2020, to January 20, 2021, all documents and communications
             reporting, summarizing, or detailing the voting returns and election results of the
             2020 Presidential election.

          2. All documents and communications related to Donald Trump’s response to the
             election results of the 2020 Presidential election, including but not limited to any
             planned public remarks.

          3. All documents and communications regarding a November 9, 2020, memorandum
             from Attorney General William Barr concerning investigation of voter fraud
             allegations.

          4. All documents and communications relating to voting machines or software used
             in the 2020 election and their control or manipulation through thermostats.

          5. From April 1, 2020, through January 20, 2021, all documents and
             communications relating to challenging the validity of the 2020 election, to, from,
             or mentioning Mike Lindell.

          6. From April 1, 2020, through January 20, 2021, all documents and
             communications relating to challenging the validity of the 2020 election, to, from,
             or mentioning Doug Logan.

          7. From November 3, 2020, through January 20, 2021, all documents and
             communications related to prepared public remarks and actual public remarks of
             Donald Trump.

   (d) What the President Knew About the Election’s Likely Outcome Before the Election
       Results and How He Characterized the Validity of the Nation’s Election System

          1. From April 1, 2020, through November 3, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows containing
             information predicting that Donald Trump would or might lose the 2020
             Presidential election.

          2. From April 1, 2020, through January 20, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows relating to mail-in
             ballots and their effect or predicted effect on results of the election or the timing
             of election-related news or decisions.

          3. From November 3, 2020, through November 5, 2020, all documents and
             communications provided to Donald Trump or Mark Meadows relating to
             projected election results of the 2020 Presidential election.
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          4. From April 1, 2020, through January 20, 2021, all documents provided to Donald
             Trump or Mark Meadows reviewing, assessing, or reporting on the security of
             election systems in the United States.

          5. From April 1, 2020, through January 20, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows regarding
             purported election irregularities, election-related fraud, or other election-related
             malfeasance.

          6. From April 1, 2020, through January 20, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows referring to a
             stolen election, stealing the election, or a “rigged” election.

   (e) Responsibilities in the Transfer of Power and the Obligation to Follow the Rule of Law

          1. All documents and communications relating to legal advice or legal analysis of, or
             compliance with, the constitutional process for certifying the electoral vote. This
             includes, but is not limited to, communications with and from the following
             individuals:

                   • Pat Cipollone,
                   • Patrick Philbin,
                   • Eric Herschmann,
                   • John Eastman, or
                   • Greg Jacobs.

          2. All documents and communications on January 6, 2021, related to Mark Milley,
             Christopher Miller, Kashyap “Kash” Patel, or Ryan McCarthy.

          3. From January 6, 2021, through January 20, 2021, all documents and
             communications related to the events of January 6, 2021, and Mark Milley,
             Christopher Miller, Kashyap “Kash” Patel, or Ryan McCarthy.

          4. From November 3, 2020, through January 20, 2021, all documents and
             communications concerning the potential or actual changes in personnel at the
             following departments and agencies:

                   • The Department of Defense, within the Office of the Secretary and the
                     Joint Chiefs of Staff. This should include, but is not limited to, such
                     documents and communications concerning the following individuals:

                                 o Mark Esper,
                                 o Mark Milley,
                                 o Christopher Miller,
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                               o   Kashyap “Kash” Patel,
                               o   James Anderson,
                               o   Anthony Tata,
                               o   Ezra Cohen-Watnick,
                               o   Joseph Kernan, or
                               o   John McEntee

                  • The Department of Justice. This should include, but is not limited to, such
                    documents and communications concerning the following individuals:

                               o   Jeffrey Rosen,
                               o   Richard Donoghue,
                               o   Jeffrey Clark, or
                               o   John McEntee

                  • The Federal Bureau of Investigation. This should include, but is not
                    limited to, such documents and communications concerning the following
                    individuals:

                               o Kashyap “Kash” Patel,
                               o Christopher Wray, or
                               o John McEntee.

                  • The Central Intelligence Agency. This should include, but is not limited
                    to, such documents and communications concerning the following
                    individuals:

                               o   Kashyap “Kash” Patel,
                               o   Gina Haspel,
                               o   Vaughn Bishop, or
                               o   John McEntee.

                  • The Department of Homeland Security (including the United States Secret
                    Service). This should include, but is not limited to, such documents and
                    communications concerning the following individuals:

                               o Chad Wolf, or
                               o John McEntee.

          5. From November 3, 2020, through January 20, 2021, all documents and
             communications relating to Jeffrey Clark.

          6. From November 3, 2020, through January 20, 2021, all documents and
             communications related to the Twenty-Fifth Amendment to the U.S. Constitution.
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          7. From January 6, 2021, through January 20, 2021, all documents and
             communications related to the mental stability of Donald Trump or his fitness for
             office.

          8. Any documents and communications relating to instructions to stop or delay
             preparation for the transition of administrations.

          9. All communications between White House personnel and General Services
             Administration (GSA) Administrator Emily Murphy or other GSA officials
             relating to “ascertainment” under the Presidential Transition Act. This includes
             but is not limited to communications discussing the recognition of Joseph Biden
             as the winner of the 2020 Presidential election.

          10. All documents and communications concerning the potential invocation of the
              Insurrection Act.

          11. From November 3, 2020, through January 20, 2021, all documents and
              communications related to martial law.

          12. All documents and communications concerning the use of Federal law
              enforcement or military personnel during voting in the 2020 Presidential election.

          13. From November 3, 2020, through January 20, 2021, all documents and
              communications related to Kashyap “Kash” Patel.

          14. From November 3, 2020, through January 20, 2021, all documents and
              communications related to John McEntee.

   (f) Other Materials Relevant to the Challenges to a Peaceful Transfer of Power

          1. Any documents and communications relating to foreign influence in the United
             States 2020 Presidential election through social media narratives and
             disinformation.

          2. All documents and communications related to the January 3, 2021, letter from 10
             former Defense Secretaries warning of use of the military in election disputes.
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Responding to the Select Committee to Investigate the January 6th Attack on the United
                          States Capitol’s Document Requests

1.      In complying with this request, produce all responsive documents, regardless of
        classification level, that are in your possession, custody, or control, whether held by
        you or your past or present agents, employees, and representatives acting on your
        behalf. Produce all documents that you have a legal right to obtain, that you have a
        right to copy, or to which you have access, as well as documents that you have
        placed in the temporary possession, custody, or control of any third party.

2.      Requested documents, and all documents reasonably related to the requested
        documents, should not be destroyed, altered, removed, transferred, or otherwise
        made inaccessible to the Select Committee to Investigate the January 6th Attack on
        the United States Capitol (“Committee’).

3.      In the event that any entity, organization, or individual denoted in this request is or
        has been known by any name other than that herein denoted, the request shall be
        read also to include that alternative identification.

4.      The Committee’s preference is to receive documents in a protected
        electronic form (i.e., password protected CD, memory stick, thumb drive, or
        secure file transfer) in lieu of paper productions. With specific reference to
        classified material, you will coordinate with the Committee’s Security
        Officer to arrange for the appropriate transfer of such information to the
        Committee. This includes but is not necessarily limited to: a) identifying
        the classification level of the responsive document(s); and b) coordinating
        for the appropriate transfer of any classified responsive document(s).

5.      Electronic document productions should be prepared according to the
        following standards:

        a.     If the production is completed through a series of multiple partial
               productions, field names and file order in all load files should match.

        b.     All electronic documents produced to the Committee should include the
               following fields of metadata specific to each document, and no
               modifications should be made to the original metadata:

               BEGDOC, ENDDOC, TEXT, BEGATTACH, ENDATTACH,
               PAGECOUNT, CUSTODIAN, RECORDTYPE, DATE, TIME,
               SENTDATE, SENTTIME, BEGINDATE, BEGINTIME, ENDDATE,
               ENDTIME, AUTHOR, FROM, CC, TO, BCC, SUBJECT, TITLE,
               FILENAME, FILEEXT, FILESIZE, DATECREATED, TIMECREATED,
               DATELASTMOD, TIMELASTMOD, INTMSGID, INTMSGHEADER,
               NATIVELINK, INTFILPATH, EXCEPTION, BEGATTACH.


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6.       Documents produced to the Committee should include an index describing the
         contents of the production. To the extent more than one CD, hard drive, memory
         stick, thumb drive, zip file, box, or folder is produced, each should contain an
         index describing its contents.

7.       Documents produced in response to this request shall be produced together with
         copies of file labels, dividers, or identifying markers with which they were
         associated when the request was served.

8.       When you produce documents, you should identify the paragraph(s) or request(s)
         in the Committee’s letter to which the documents respond.

9.       The fact that any other person or entity also possesses non-identical or identical
         copies of the same documents shall not be a basis to withhold any information.

10.      The pendency of or potential for litigation shall not be a basis to
         withhold any information.

11.      In accordance with 5 U.S.C.§ 552(d), the Freedom of Information Act (FOIA)
         and any statutory exemptions to FOIA shall not be a basis for withholding any
         information.

12.      Pursuant to 5 U.S.C. § 552a(b)(9), the Privacy Act shall not be a basis for
         withholding information.

13.      If compliance with the request cannot be made in full by the specified return date,
         compliance shall be made to the extent possible by that date. An explanation of
         why full compliance is not possible shall be provided along with any partial
         production, as well as a date certain as to when full production will be satisfied.

14.      In the event that a document is withheld on any basis, provide a log containing the
         following information concerning any such document: (a) the reason it is being
         withheld, including, if applicable, the privilege asserted; (b) the type of document;
         (c) the general subject matter; (d) the date, author, addressee, and any other
         recipient(s); (e) the relationship of the author and addressee to each other; and (f)
         the basis for the withholding.

15.      If any document responsive to this request was, but no longer is, in your
         possession, custody, or control, identify the document (by date, author, subject,
         and recipients), and explain the circumstances under which the document ceased
         to be in your possession, custody, or control. Additionally, identify where the
         responsive document can now be found including name, location, and contact
         information of the entity or entities now in possession of the responsive
         document(s).



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16.      If a date or other descriptive detail set forth in this request referring to a document
         is inaccurate, but the actual date or other descriptive detail is known to you or is
         otherwise apparent from the context of the request, produce all documents that
         would be responsive as if the date or other descriptive detail were correct.

17.      This request is continuing in nature and applies to any newly-discovered
         information. Any record, document, compilation of data, or information not
         produced because it has not been located or discovered by the return date shall be
         produced immediately upon subsequent location or discovery.

18.      All documents shall be Bates-stamped sequentially and produced sequentially.

19.      Upon completion of the production, submit a written certification, signed by you or
         your counsel, stating that: (1) a diligent search has been completed of all
         documents in your possession, custody, or control that reasonably could contain
         responsive documents; and
         (2) all documents located during the search that are responsive have been produced
         to the Committee.

                                           Definitions

1.       The term “document” means any written, recorded, or graphic matter of any nature
         whatsoever, regardless of classification level, how recorded, or how
         stored/displayed (e.g. on a social media platform) and whether original or copy,
         including, but not limited to, the following: memoranda, reports, expense reports,
         books, manuals, instructions, financial reports, data, working papers, records, notes,
         letters, notices, confirmations, telegrams, receipts, appraisals, pamphlets,
         magazines, newspapers, prospectuses, communications, electronic mail (email),
         contracts, cables, notations of any type of conversation, telephone call, meeting or
         other inter-office or intra-office communication, bulletins, printed matter, computer
         printouts, computer or mobile device screenshots/screen captures, teletypes,
         invoices, transcripts, diaries, analyses, returns, summaries, minutes, bills, accounts,
         estimates, projections, comparisons, messages, correspondence, press releases,
         circulars, financial statements, reviews, opinions, offers, studies and investigations,
         questionnaires and surveys, and work sheets (and all drafts, preliminary versions,
         alterations, modifications, revisions, changes, and amendments of any of the
         foregoing, as well as any attachments or appendices thereto), and graphic or oral
         records or representations of any kind (including without limitation, photographs,
         charts, graphs, microfiche, microfilm, videotape, recordings and motion pictures),
         and electronic, mechanical, and electric records or representations of any kind
         (including, without limitation, tapes, cassettes, disks, and recordings) and other
         written, printed, typed, or other graphic or recorded matter of any kind or nature,
         however produced or reproduced, and whether preserved in writing, film, tape, disk,
         videotape, or otherwise. A document bearing any notation not a part of the original
         text is to be considered a separate document. A draft or non-identical copy is a
         separate document within the meaning of this term.


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2.      The term “communication” means each manner or means of disclosure or
        exchange of information, regardless of means utilized, whether oral, electronic,
        by document or otherwise, and whether in a meeting, by telephone, facsimile,
        mail, releases, electronic message including email (desktop or mobile device), text
        message, instant message, MMS or SMS message, message application, through a social
        media or online platform, or otherwise.

3.      The terms “and” and “or” shall be construed broadly and either conjunctively or
        disjunctively to bring within the scope of this request any information that might
        otherwise be construed to be outside its scope. The singular includes plural number,
        and vice versa. The masculine includes the feminine and neutral genders.

4.      The term “including” shall be construed broadly to mean “including, but not limited
        to.”

5.      The term “Company” means the named legal entity as well as any units, firms,
        partnerships, associations, corporations, limited liability companies, trusts,
        subsidiaries, affiliates, divisions, departments, branches, joint ventures,
        proprietorships, syndicates, or other legal, business or government entities over
        which the named legal entity exercises control or in which the named entity has any
        ownership whatsoever.

6.      The term “identify,” when used in a question about individuals, means to
        provide the following information: (a) the individual’s complete name and title;
        (b) the individual’s business or personal address and phone number; and (c)
        any and all known aliases.

7.      The term “related to” or “referring or relating to,” with respect to any given
        subject, means anything that constitutes, contains, embodies, reflects, identifies,
        states, refers to, deals with, or is pertinent to that subject in any manner
        whatsoever.

8.      The term “employee” means any past or present agent, borrowed employee,
        casual employee, consultant, contractor, de facto employee, detailee,
        assignee, fellow, independent contractor, intern, joint adventurer, loaned
        employee, officer, part-time employee, permanent employee, provisional
        employee, special government employee, subcontractor, or any other type of
        service provider.

9.      The term “individual” means all natural persons and all persons or entities
        acting on their behalf.




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                 ATTACHMENT C
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                                      DONALD J. TRUMP
                                          October 8, 2021



The Honorable David S. Ferriero
Archivist of the United States
National Archives and Records Administration
Washington, D.C.

Dear Mr. Ferriero,

I write concerning requests for documents and records sent to your office on March 25, 2021 and
August 25, 2021 by the Select Committee to Investigate the January 6th Attack on the United States
Capitol (the "Committee"). The Committee requested an extremely broad set of documents and
records, potentially numbering in the millions, which unquestionably contain information protected
from disclosure by the executive and other privileges, including but not limited to the presidential
communications, deliberative process, and attorney-client privileges.

On August 30, 2021, the National Archives and Records Administration noticed the first set of records
for review (P0000l - P00136) (the "First Tranche"). Following a review of such records, pursuant
to the Presidential Records Act, 44 U.S.C. § 2208(b), Executive Order 13489, and 36 CFR 1270.44,
I have determined that the following records contain information subject to executive privilege,
including the presidential communications and deliberative process privileges, and I hereby formally
assert executive privilege over these records:

 P0000I
 P00002
 P00004
 P0000S
 P00006
 P00007 - P00009
 P000I0
 P000I I - P000l2
 P000l3 - P000l4
 P000IS
 P000l6
 P000l7
 P00045 - P00049
 P000SI
 P00053 - P00058
 P00060
 P0006I
 P00 I 15 - P00 120
 P00 12 I - P00 122
 P00l23 - P00l28
 P00l3 l - P00l32
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                 ATTACHMENT F
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October 13, 2021

The Honorable Donald J. Trump

Dear President Trump:

After consultation with the Counsel to the President and the Acting Assistant Attorney
General for the Office of Legal Counsel, and as instructed by President Biden, I have
determined to disclose to the Select Committee the pages below, which you identified
as privileged in your letter of October 8, 2021. Pursuant to President Biden’s
subsequent instruction and my authority under 36 C.F.R. 1270.44(g), I will deliver these
pages to the Select Committee in 30 days (on November 12, 2021), absent any
intervening court order:

   ● P00001

   ● P00002

   ● P00005

   ● P00006

   ● P00007-P00009

   ● P00010

   ● P00011-P00012

   ● P00013-P00014

   ● P00015

   ● P00016

   ● P00017

   ● P00045-P00049

   ● P00051

   ● P00053-P00058
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   ● P00060

   ● P00061

   ● P00121-P00122

   ● P00123-P00128

   ● P00131-P00132

Please note that pages P0004 and P00115-P00120 are not responsive to the Select
Committee’s request, and therefore I will not provide them to the Select Committee.
The remaining 90 pages covered by our August 30, 2021 notification are not subject to
any assertion of privilege, and therefore I intend to provide them to the Select
Committee today.

Sincerely,




DAVID S. FERRIERO
Archivist of the United States
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                 ATTACHMENT G
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                 ATTACHMENT H
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                  ATTACHMENT I
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October 27, 2021

The Honorable Donald J. Trump

Dear President Trump:

After consultation with the Counsel to the President and the Acting Assistant Attorney
General for the Office of Legal Counsel, and as instructed by President Biden, I have
determined to disclose to the House Select Committee to Investigate the January 6th
Attack on the United States Capital (“Select Committee”) the 724 pages from the
Second and Third Notifications that you identified as privileged in your letter of October
21, 2021. Pursuant to President Biden’s subsequent instruction and my authority under
36 C.F.R. 1270.44(g), I will deliver these pages to the Select Committee 30 days from
today (November 26, 2021), absent any intervening court order.

As your letter notes, NARA has determined that the pages numbered P000443-P000445
are not Presidential records, and we have therefore withdrawn these pages from the
Second Notification. As your letter further notes, the pages numbered
P000143-P000179, P000398, and P000879-P000890 have been deferred from final
consideration and thus will not be provided to the Select Committee at this time. I will
provide to the Select Committee in short order the remaining 111 pages that are not
subject to an assertion of privilege.

Sincerely,




DAVID S. FERRIERO
Archivist of the United States
